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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF OHIO
                        WESTERN DIVISION AT DAYTON

UNITED STATES OF AMERICA,

       Plaintiff,                                   Case No. 3:16-MJ-00309
       -vs-                                         Magistrate Judge Michael J. Newman

TAYLOR KARAS

       Defendant.


                                  ORDER OF DETENTION


       This case came on for hearing on October 24, 2016, on motion of the United States to

determine whether any condition or combination of conditions set forth in 18 U.S.C. § 3142(c) will

reasonably assure the appearance of the Defendant as required in this case and the safety of the

community.

       The United States relied on the report of the Pretrial Services Officer, the presumption of

detainability arising from the nature of the offense and the maximum and minimum sentences, and

the probable cause determination made by the Court in issuing the arrest warrant. Defendant

presented additional argument but no testimony.

       Based upon the evidence presented in the Pretrial Services report, which is unrebutted by

Defendant, and for the reasons stated on the record in open court, the Court finds by clear and

convincing evidence that no condition or combination of conditions set forth in 18 U.S.C. §

3142(c) will reasonably assure the appearance of the Defendant as required and the safety of the

community. The term “safety of the community” refers to the community’s security from

criminal conduct by the Defendant, whether violent or not. See United States v. Vance, 851 F. 2d
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166, 169-70 (6th Cir. 1988).

       The Government’s motion to detain is GRANTED.

       Accordingly, it is hereby ORDERED that:

       1) The Defendant be committed to the custody of the Attorney General of the United

States for confinement in a corrections facility separate, to the extent practicable, from persons

awaiting or serving sentences or being held in custody pending appeal;

       2)   The Defendant be afforded reasonable opportunity for private consultation with

counsel; and

       3) On Order of a Court of the United States, or upon request of an attorney for the United

States, the person in charge of the facility in which the Defendant is confined deliver the Defendant

to a United States Marshal or his deputy for the purpose of an appearance in connection with a

court proceeding.

       Defendants who appeal to a District Judge from this Order must, at the same time as filing

the appeal, order a transcript of the detention hearing from the court reporter.



October 24, 2016                                               s/ Michael J. Newman
                                                             United States Magistrate Judge




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